        Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 1 of 20




          In the United States Court of Federal Claims
                                          No. 09-241L
                                  (Filed: December 21, 2012)
                                  NOT FOR PUBLICATION

                                               )
STEVEN JENKINS, et al.,                        )
                                               )
                       Plaintiffs,             )
                                               )
v.                                             )
                                               )
THE UNITED STATES,                             )
                                               )
                       Defendant.              )
                                               )

                                          OPINION

       Pending before the court are the parties’ second motions for partial summary

judgment in this “Rails to Trails” case arising from the creation of a recreational trail in

Dallas County, Iowa pursuant to the “railbanking” provision of the National Trails

System Act Amendments of 1983. 16 U.S.C. § 1247(d) (2006) (“Trails Act”). 1 At issue

in the pending motions are 18 parcels of land 2 for which the defendant (“government”)


1
  The court discussed the relevant statutory and regulatory framework of the Trails Act in its
previous opinion, in which the court held that the government affected a taking of certain
reversionary interests in railroad right-of-way easements when the government approved the
conversion of the subject rail line to a recreational trail. Jenkins v. United States, 102 Fed. Cl.
598, 600-02 (2011).
2
 The 18 parcels still in dispute are parcels 15.A, 15.B, 15.C, 15.D, 15.E, 15.F, 26.A, 27, 29, 77,
97.B, 97.C, 97.D, 98.B, 103, 104, 105, and 106.

Although the parties currently dispute liability for the 18 parcels listed above, they have
previously agreed to dismiss the following 45 parcels formerly at issue in the pending motions:
17, 22, 23, 24, 25, 26.B, 28, 30, 32, 35, 36, 47.G (northerly portion), 58, 59.B, 59.C, 59.D, 59.F,
                                                   1
        Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 2 of 20



disputes its takings liability on various grounds arising under Iowa state law. For the

reasons discussed below, the defendant’s cross-motion for partial summary judgment

dismissing the plaintiffs’ claims is GRANTED in part and DENIED in part, and the

plaintiffs’ cross-motion for partial summary judgment is GRANTED in part and

DENIED in part.

II.    STANDARD OF REVIEW

       Summary judgment is appropriate only if “there is no genuine dispute as to any

material fact and the movant is entitled to a judgment as a matter of law.” Rule 56(a) of

the Rules of the Court of Federal Claims; see also Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 247-49 (1986); Casitas Mun. Water Dist. v. United States, 543 F.3d 1276, 1283

(Fed. Cir. 2008). A material fact is one that “might affect the outcome of the suit,” and

59.G, 59.H (southerly portion), 59.I, 59.K, 60, 61.A, 62.A, 62.B, 62.C, 62.D, 63, 65, 67, 98.A,
99.A, 99.B, 100.A, 100.B, 101.A, 101.B, 102.A, 107, 108, 109, 110, 113.B, 113.C, 113.D.

Moreover, the government conceded liability with respect to 20 parcels: 4.D, 8, 31.A, 31.B, 37,
38, 41.D, 42, 43, 47.G (southerly portion), 47.K, 59.A, 59.H (northerly portion), 59.J, 59.L, 64,
68.A, 82, 83.A, 97.A. Parcels 47.G and 59.H are listed twice because the parties agreed on
partial liability for each of these parcels, while dismissing the remaining portions of each.

The parties agree to liability with respect to claim 8. 2nd Joint Stat. Rep. at 8, ECF No. 113.
The only outstanding issue was whether two plaintiffs, Harold Morris and the Estate of Edgar
John Morris are proper members of the class. The court notes that the opt-in form for this case
expressly states that one owner may opt-in for all owners of a given parcel of land. Joint Prop.
Concerning Class Cert., Ex. C, ECF No. 21, entered as order by Nov. 13, 2009, Order at 6, ECF
No. 23 (stating “[i]f you owned the land with another person or entity, it is only necessary that
one of the owners sign this form . . . .”). Carol Sue Hilton, a part owner of the relevant parcel,
timely executed the opt-in form, meaning all owners of the parcel associated with claim 8 are
properly part of this suit.

Lastly, the parties have submitted additional deeds since the court held oral argument on
November 14, 2012. See generally 2nd Joint Status Report, ECF No. 113 (“2nd Joint Stat.
Rep.”); Def.’s Mot. Suppl. Rec., ECF No. 112. The court grants the government’s motion to
supplement the record and will consider all evidence presented by either party since the oral
argument.
                                                 2
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 3 of 20



an issue is genuine “if the evidence is such that a reasonable jury could return a verdict

for the nonmoving party.” Anderson, 477 U.S. at 248. In considering the existence of a

genuine issue of material fact, a court must draw all inferences in the light most favorable

to the non-moving party. Matsushita Elec. Indus. v. Zenith Radio Corp., 475 U.S. 574,

587 (1986).

       Once the movant has shown that no genuine issue of material fact exists, the party

opposing summary judgment must demonstrate that such an issue, in fact, does exist.

Celotex Corp. v. Catrett, 477 U.S. 317, 324 (1986). To establish a genuine issue of

material fact, a party “must point to an evidentiary conflict created on the record; mere

denials or conclusory statements are insufficient.” Radar Inds., Inc. v. Cleveland Die and

Mfg. Co., 424 F.App’x 931, 936 (Fed. Cir. 2011) (quoting SRI Int’l v. Matsushita Elec.

Corp. of Am., 775 F.2d 1107, 1116 (Fed. Cir. 1985)) (internal quotation omitted). Where

there is doubt as to the existence of a genuine issue of material fact, that doubt must be

resolved in favor of the nonmovant. Unigene Labs., Inc. v. Apotex, Inc., 655 F.3d 1352,

1360 (Fed. Cir. 2011) (citing Ortho-McNeil Pharm., Inc. v. Myland Labs., Inc., 520 F.3d

1358, 1360-61 (Fed. Cir. 2008)). “The fact that both parties have moved for summary

judgment does not mean that the court must grant judgment as a matter of law for one

side or the other; summary judgment in favor of either party is not proper if disputes

remain as to material facts.” Mingus Constructors, Inc. v. United States, 812 F.2d 1387,

1391 (Fed. Cir. 1987). With respect to cross-motions for summary judgment, each

motion is evaluated on its own merits and reasonable inferences are resolved against the



                                              3
          Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 4 of 20



party whose motion is being considered. Marriot Int’l Resorts, L.P. v. United States, 586

F.3d 962, 968-69 (Fed. Cir. 2009).

III.      DISCUSSION

          The plaintiffs in this class action are landowners who claim to own fee interest in

land underlying railroad segments constructed in Dallas Center, Iowa. 3 The fee

underlying the rail corridor, which has been converted into a recreational trail pursuant to

the Trails Act, runs through the towns of Perry, Minburn, and Dallas Center. The rail

segments were initially acquired by the Des Moines Valley Railroad Company and by the

Chicago, Milwaukee, and St. Paul Railway Company. Both companies were

predecessors-in-interest to Union Pacific (“Railroad”), which was the last railroad to

operate the rail line prior to its conversion into a recreational trail.

          In order to establish takings liability in a Rails to Trails case, the plaintiffs need to

make three basic showings. First they have to establish that they owned the pertinent

property on the date of the taking. 4 See Preseault v. United States, 100 F.3d 1525, 1550-

52 (Fed. Cir. 1996) (“Preseault II”). Second, they have to demonstrate that their property

is adjacent to the rail corridor. See id. Third, they have to show that creation of the

recreational trail pursuant to the Trails Act precluded reversion of their fee interest in the


3
    All facts are uncontested unless otherwise noted.
4
  For purposes of the Trails Act, the taking occurs on the date the Surface Transportation Board
(“STB”) issues the Notice of Interim Trail Use or Abandonment (“NITU”). Caldwell v. United
States, 391 F.3d 1226, 1229-30, 1233 (Fed. Cir. 2004). The NITU preserves the STB’s
jurisdiction over the rail corridor, allows the railroad to discontinue operations and remove track
and equipment, and affords the railroad and the trail provider 180 days to negotiate a railbanking
and interim Trails Act agreement. 49 C.F.R. § 1152.29(d).

                                                  4
        Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 5 of 20



rail corridor unencumbered by a rail easement 5 (i.e. the Railroad held the right-of-way as

an easement limited to railroad purposes, rather than fee, that would have extinguished

upon cessation of railroad use). Caldwell, 391 F.3d at 1233. The parties dispute three

core issues with respect to the government’s takings liability for the remaining eighteen

parcels of land. The first two issues center on this third basic element—namely whether

the Railroad held the right-of-way in fee or merely as an easement limited to railroad

purposes. The third issue involves the parties’ disagreement over whether one of the

plaintiffs, the City of Dallas Center, is a proper plaintiff under the court’s class definition.

The court will first provide a general overview of the disputes before analyzing them in

greater detail.

       The first dispute involves two segments of the railroad right-of-way running

through the Perry and Dallas Center train depot grounds. The Railroad initially received

easements in the rights-of-way and then subsequently acquired fee interest in the same

property through separate deeds. The government claims that later fee conveyances

extinguished the previously granted easements under Iowa’s law of merger. 6 Under


5
  State law defines the nature of the property interests at issue. Preseault v. Interstate Commerce
Comm’n, 494 U.S. 1, 8 (1990) (“Preseault I”). The court therefore will apply, where relevant,
Iowa property law in its analysis of the property disputes.

Sections 327G.76 and 327G.77 of the Iowa Code define the property interests that adjacent
landowners take upon a railroad’s abandonment of its right-of-way. When a railroad’s right-of-
way is extinguished, those rights pass to the owners of the adjacent property upon abandonment.
Iowa Code § 327G.77 (2009). If there are different owners of land on either side of the
abandoned right-of-way, then each owner takes to the center of the right-of-way. Id.
6
 The eight parcels impacted by this issue are 98.B, 103, 104, 105, and 106 located in Perry and
parcels 26.A, 27, and 29 located in Dallas Center.

                                                 5
          Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 6 of 20



Iowa’s law of merger, easements are extinguished when the dominant and servient estates

merge. Gray v. Osborn, 739 N.W.2d 855, 862 (Iowa 2007). The government contends

that the easements over the rail corridor (the dominant estate) extinguished when the rail

corridor segments merged with the dominant estate (the adjacent parcels). The

government contends that the Railroad held the rail corridor in fee, and that, therefore, it

is not liable for a taking of any reversionary interests belonging to the plaintiffs. The

plaintiffs argue that when the railroad conveyed the adjacent parcels to the plaintiffs or

their predecessors-in-interest, it conveyed to the railroad’s centerline as well. If the

plaintiffs are correct, the creation of the recreational trail easement upon that land

affected a taking of the plaintiffs’ unencumbered fee interest.

          The second dispute centers on whether, under Iowa law, railroads obtain

prescriptive easements limited to railroad purposes upon establishment of adverse rights.

Specifically, the plaintiffs contend that, with respect to property for which no deed is

located, the Railroad at most obtained prescriptive easements over the subject property. 7

Since such prescriptive easements would be limited to railroad purposes, the plaintiffs

contend that the issuance of the NITU blocked plaintiffs’ right to an unencumbered fee

title. The government argues, in response, that under Iowa law, a railroad can obtain fee

interest under Iowa’s law of adverse possession. This would require dismissal of the

relevant claims.




7
    The relevant parcels are 77, 97.B, 97.C, and 97.D located in Perry.

                                                  6
        Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 7 of 20



       The third and final dispute is over whether the City of Dallas Center should be

dismissed from the action because it is not a proper member of the class. 8 Specifically,

the government contends that as the fee owner of part of the right-of-way, the City of

Dallas Center is a successor-in-interest to the Railroad and is excluded from the class.

The City argues that it falls within the class definition.

       The court will now consider these three issues, addressing each in turn.

       A.     The Railroad acquired a fee in the Perry and Dallas Center railroad
              corridors.

       The parties dispute the government’s liability with regard to the property interests

Union Pacific held in the railroad corridors in the Perry and Dallas Center Depot grounds.

The government argues that the Railroad held the right-of-way in fee as a result of Iowa’s

law of merger and thus plaintiffs’ reversionary rights were not taken by the NITU. The

plaintiffs contend that the government is liable for a taking under Iowa law regardless of

whether the Railroad may have held the right-of-way in fee on the grounds that they own

the rail corridor and the NITU authorized a new use.

              1.      The depot grounds and their deeded conveyances.

       Eight of the parcels currently at issue are part of the former Perry and Dallas

Center depot grounds. In each town, the disputed parcels sit adjacent to parts of the rail

corridor that had initially been conveyed as easements to the Railroad and then later

conveyed to the Railroad by fee deeds as part of subsequent transactions conveying the

depot grounds. That is, the depot grounds fee conveyances also included the previously

8
 The City of Dallas Center owns, for various municipal purposes, parcels 15.A, 15.B, 15.C,
15.D, 15.E, and 15.F.
                                               7
        Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 8 of 20



established rail corridors. The railroad corridor that runs through the center of the former

Perry depot grounds was initially granted as an easement to the Railroad by a deed

located at book A, page 451 in 1868. The surrounding Perry depot grounds, including the

existing railroad right-of-way running through the center, were subsequently conveyed in

a separate transaction by a deed located at book S, page 235 in 1870 by the same grantor

as the previous 1868 easement. The parties stipulated that this 1870 deed for the Perry

depot conveyed parcels 98.B, 103, and 1049 and the plaintiffs conceded that it conveyed

these parcels as fee interests.

       Similarly, the parties stipulated that the deed located at book A, page 422

conveyed the section of the railroad corridor adjacent to claim 29 in Dallas Center as an

easement in 1868. The parties agree that the subsequent 1870 fee deed 10 located at book

S, page 232 is applicable to claim 29. The parties further agree that a condemnation

easement at book A, page 492 conveyed portions of the railroad right-of-way adjacent to

9
  While the government initially stipulated that the deed located at book S, Page 235 did not
apply to parcels 105 and 106, Joint Stat. Rep, ECF No. 72, the government later contended that
this was a clerical error. 2nd Joint Stat. Rep. at 9. The government subsequently provided
evidence demonstrating that the relevant deed applied to parcels 105 and 106. Id. The plaintiffs
state that “it is not clear” that that book S, page 235 applies but present no argument suggesting it
does not. Id. at 4.
10
   Although the plaintiffs have not stipulated to the scope of this deed (i.e. whether it conveys fee
title or an easement) as with the Perry depot deed, the court finds that the deed located at book S,
page 232 grants fee title. Both deeds were written on the same form deed and contain similar or
near-similar granting language. Each deed grants “the following described” premises, compare
Def.’s Proposed Findings of Fact, Ex. 1, ECF No. 60 (“Def.’s PFOF”) (the Dallas Center deed)
with Def.’s PFOF, Ex. 3 (the Perry deed), and does not mention limitations on the grant. Under
the Iowa Supreme Court’s decision in Lowers v. United States, such an unqualified conveyance
grants fee title in the grantee. 663 N.W.2d 408, 411 (Iowa 2003) (holding that a deed to a
railroad lacking qualifying language or mentioning “right-of-way” in the granting language
conveys a fee interest).

                                                 8
        Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 9 of 20



sections of the two remaining Dallas Center parcels 26.A and 27. The government

proffers a deed from 1876 located at book 11, page 302, which it contends conveyed the

entirety of the railroad corridor adjacent to parcels 26.A and 27 in fee. 11

               2.      The railroad right-of-way easements have been extinguished
                       under Iowa’s law of merger and therefore issuance of the NITU
                       did not give rise to a taking.

       The government argues that the subsequent fee deeds conveying the two depot

grounds extinguished the Railroad’s easements under Iowa’s law of merger and that the

relevant Iowa statutory provisions are inapplicable in cases where the Railroad holds fee

title to the right-of-way. The government contends that, under Iowa law, a subsequent

fee conveyance for the same easement or for land surrounding the easement extinguishes

that easement, which merges into the subsequent fee resulting in fee ownership in the

underlying land originally encumbered by the easement. Def.’s Cross-Mot. Summ. J. at 9

(citing Feilhaber v. Swiler, 212 N.W. 417, 418 (Iowa 1927) (noting that an easement is

extinguished in cases where a single owner holds title to an easement and an underlying

fee)). Since, by virtue of Iowa’s law of merger, Union Pacific owned the rights-of-way in

Perry and Dallas Center in fee, the government argues that the adjacent landowners had

no reversionary rights under Iowa Code sections 327G.76 and 327G.77 in the railroad

corridor upon issuance of the NITU. Tr. of Oral Arg. at 36, ECF No. 111 (citing Butler

11
   The granting language provides: “[Sheriff] do[es] hereby sell and convey unto [the railroad]
the following described real estate . . . .” The government contends that this deed conveyed fee
title in the depot grounds in Dallas Center including the railroad corridor adjacent to parcels 26.A
and 27. Id. Given the conveying language and its lack of limitations, the court finds here, as
above, that this deed conveys a fee interest under Iowa state law. Lowers, 663 N.W.2d at 411.
Plaintiffs again state that “it is not clear” that book 11, page 302 applies to parcels 26.A and 27,
but provide no evidence to the contrary. 2nd Joint Stat. Rep. at 4.
                                                 9
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 10 of 20



v. Hoover Nature Trail, Inc., 530 N.W.2d 85, 89 (Iowa Ct. App. 1994) (stating that

sections 327G.76 and 327G.77 apply only when the railroad holds an easement)).

       The plaintiffs argue, in response, that even if the Railroad owned both the depot

grounds and the railroad rights-of-way in fee, any conveyance by the Railroad to

subsequent landowners of parcels adjacent to the railroad right-of-way would also, under

Iowa law, grant those subsequent landowners fee ownership to the centerline of the

railroad corridor. They contend that the right-of-way owned by the Railroad does not

need to be an easement in order to give rise to takings liability because Union Pacific’s

conveyance of the adjacent parcels granted the subsequent owners the railroad right-of-

way in fee as well. As such, plaintiffs argue, the creation of the recreational trail

easement on the right-of-way would give rise to a taking because plaintiffs have a

property right to the center line of the railroad.

       After considering the parties’ arguments and the relevant Iowa law, the court finds

based on the legal reasoning of the government and the cases it relies upon that the right-

of-way easements were extinguished upon the granting of subsequent fee deeds and that

therefore the Railroad held the corridor in fee. Since the Railroad acquired fee interest in

the corridor, the government did not take property when it authorized the trail operator to

use the corridor as a recreational trail. A review of the deeds confirms that the Railroad

reserved most of the corridor for itself, even as it conveyed interests in the depot grounds,

so that it could continue to operate trains. Some of the deeds, however, reveal that the

Railroad may have conveyed portions of its property within its one hundred foot right-of-

way to some of the plaintiffs or their predecessors. The claims include: 26.A, 27, 29,

                                              10
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 11 of 20



98.B, and 104. To the extent the NITU authorized a one hundred foot trail that extends

into the limited fee interests of the property owners associated with the claims above, the

government is liable for takings to the extent the trail has encumbered portions of the

landowners’ property. 12

       The government’s motion as to the depot grounds is GRANTED as to claims 103,

105 and 106 and DENIED as to claims 26.A, 27, 29, 98.B, and 104.

       B.      Where there are no deeds or evidence of condemnation, the Railroad
               obtained at most only easements for railroad purposes.

       There are two segments of the railroad corridor located in Perry for which neither

party could locate deeds or evidence of condemnation. The parties dispute, however,

whether the Railroad established fee title to the railroad corridor under Iowa’s law of

adverse possession. The plaintiffs argue that the Railroad’s use of the corridor would

establish—at most—prescriptive easements limited to railroad purposes. The

government contends that the railroad would have established fee title, or possibly a

general easement, in the right-of-way.

       Most of the impacted parcels, 97.B, 97.C, and 97.D, are located just south of the

depot grounds conveyed by deed at book S, page 235 discussed above. These parcels are

located on either side of the corridor. The former railroad right-of-way also cuts across

the northwest corner of parcel 77 with land from that parcel lying on both sides.




12
   The court does not resolve the precise locations or the extent of the recreational trail’s
burden—if any—on the land associated with the listed claims. Nor does it make a liability
finding at this time.
                                                11
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 12 of 20



              1.      Under Iowa law, railroads obtain prescriptive easements limited
                      to railroad purposes upon the establishment of adverse rights.

       The government contends that a railroad operating over private property obtains

fee title over the rail corridor. Plaintiffs who own adjacent property therefore have no

reversionary interests in the corridor. In support of its argument, the government cites

Louisa County Conservation Bd. v. Malone, 778 N.W.2d 204, 206 (Iowa Ct. App. 2009),

in which the Louisa County Conservation Board brought a quiet title action to establish

its ownership rights, as a recreational trail operator, in a former railroad corridor. The

court found that the board, which had received a quit claim deed, acquired fee title to the

recreational trail after establishing the elements of adverse possession. Id. at 209. The

government analogizes Louisa County to this case, arguing that if the board could receive

fee title in the corridor through adverse possession in a quiet title action, then the

Railroad also must have received fee title to the corridor if it established adverse rights.

The government argues that the case for Union Pacific’s acquisition of fee title is even

stronger than that of the rail operators in Louisa County since here Union Pacific more

likely had exclusive use of the rail whereas the recreational trail in Louisa County was

subject to public use. As a result, the government asserts, Iowa provides for fee title in

the land upon establishment of adverse rights. Therefore, the government, through

issuance of the NITU, could not have blocked plaintiffs’ reversionary rights in the

segments of the corridor that Union Pacific owned in fee because they had no such rights.

       The government notes but does not distinguish Collins Trust v. Allamakee

County, 599 N.W.2d 460 (Iowa 1999). In Collins Trust, the Iowa Supreme Court


                                              12
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 13 of 20



considered whether a county had established a prescriptive easement when it operated

and maintained a public road over the plaintiff’s private land. Id. at 463. At issue was

whether the county could establish the elements of adverse possession for the segment of

the road that veered into the private property and what rights the county could establish.

Id. at 463-65. The Iowa Supreme Court held that, upon establishing the elements of

adverse possession, the county had acquired a prescriptive easement over the plaintiff’s

property. Id. at 465. As opposed to the Iowa Court of Appeals decision in Louisa

County, the Iowa Supreme Court’s decision in Collins Trust counsels that under Iowa

law, the Railroad only obtained prescriptive easements limited to railroad purposes.

       The plaintiffs argue based on other Iowa Supreme Court cases that Iowa law is

“clear” that a railroad right-of-way obtained through adverse possession is a prescriptive

easement rather than a fee. Pls. Cross-Mot. Summ J. at 10 (citing, among other cases,

Drake v. Chicago, R.I. and R.R. Co., 19 N.W. 215, 217 (Iowa 1884)). The issue in Drake

was whether the defendant railroad, which owned and maintained tracks across the

plaintiff’s land, was liable for water damage to the plaintiff’s property resulting from the

rail’s embankment and clogged water ditch. 19 N.W. at 215-16. The court considered

what property interest the railroad held in the corridor in the absence of evidence that the

railroad company owned the land, concluding that it held an easement. Id. at 217.

Similarly, the Iowa Supreme Court has noted that “authorities are scarcely needed to

support the proposition that an easement in the right of way may be established by

adverse possession.” Shimanek v. Chi., M. & St. P. Ry. Co., 152 N.W. 574, 575 (Iowa

1915); see also Gates v. Colfax N. Ry. Co., 159 N.W. 456, 461-62 (Iowa 1916)

                                             13
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 14 of 20



(presuming that the railroad would, upon establishment of adverse rights, be limited to an

easement). The plaintiffs therefore contend that under Iowa law, the most the Railroad

could have obtained through exercise of adverse rights was an easement.

       Given this precedent, the court holds that under Iowa law a railroad that

establishes adverse rights acquires only an easement limited to railroad purposes. While

the law may not be as “clear” as the plaintiffs suggest, the government provides little

reason to depart from the reasoning in Collins Trust and the above-cited railroad cases.

As noted, the government provides only one case—the Iowa Court of Appeals’ decision

in Louisa County—to support its position that Union Pacific established fee title to the

railroad corridor. The Louisa County plaintiff, however, unlike Union Pacific or its

predecessors-in-interest, had “appearance of title” as a result of the quit claim deed it

received. 778 N.W.2d at 207. Union Pacific’s property interest claim may be

distinguished in that the parties here found no deed—quit claim or otherwise—on which

Union Pacific could show a fee title claim of right to the now right-of-way. Louisa

County’s holding is therefore limited to the facts of that case.

       The Iowa Supreme Court’s holding in Collins Trust is more applicable to the case

at hand. The county’s construction and maintenance of a road over the land of another

private party is similar to Union Pacific’s operation of the railroad corridor. Both involve

use of land for a particular purpose—whether as a road or a railroad—rather than a claim

to title in the property itself. As the Collins Trust court noted, “[t]he fundamental

distinction between the two doctrines is an easement by prescription concerns the use of

property, while adverse possession deals with the acquisition of title to property by

                                             14
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 15 of 20



possession.” 599 N.W.2d at 464. The Railroad’s use of land for a railroad corridor is

just that—a use. As such, the court finds that under Iowa law, in the absence of deeds or

condemnation, a railroad acquires at most a railroad easement upon establishment of

adverse rights. The court therefore rejects the government’s contention that Union

Pacific held fee title to the railroad corridor segments adjacent to claims 77, 97.B, 97.C,

and 97.D. Rather, Union Pacific acquired only prescriptive easements. Therefore, the

government is liable for taking the plaintiffs’ reversionary rights in their fee interests

underlying the former railroad corridor.

       C.     Dallas Center, as successor-in-interest to the railroad, is not a member
              of the class.

       The parties dispute whether the City of Dallas Center, as a current property owner

in the former corridor itself, may properly be included in this lawsuit pursuant to this

court’s order granting the plaintiffs’ motion to certify the class. See Order at 5, ECF No.

23 (excluding “railroad companies and their successors-in-interest” as class members).

The plaintiffs argue that the City of Dallas Center is not a successor-in-interest to Union

Pacific by “any common definition,” while the government contends that it is successor-

in-interest by virtue of the Dallas Center’s current property holdings in the former right-

of-way.




                                              15
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 16 of 20



               1.      Dallas Center’s acquisition of the former railroad right-of-way
                       segment.

       The City of Dallas Center owns six parcels of land adjacent to the railroad corridor

that runs through the city. 13 The City has used these adjacent parcels in part to build a

wastewater facility, a swimming pool, and a library. Dallas Center, unlike the other

plaintiffs, also owns property interests in the corridor itself, which it acquired after the

issuance of the NITU but prior to the filing of this lawsuit. 14 Dallas Center serves as trail

operator for the segment of the former right-of-way it acquired. On August 9, 2005, less

than a year after the October 24, 2004 NITU, the City of Dallas Center submitted a grant

application for $75,000 to the state of Iowa in order to purchase a 2.16 mile segment of

the former rail corridor for use as a recreational trail. The grant application noted that the

“project would fit very nicely into the City of Dallas Center’s Comprehensive Plan and

the Dallas County 5-year REAP plan of parks and trails.” Def.’s 2nd Proposed Findings

of Fact (“Def.’s 2nd PFOF”), Ex. 48, ECF No. 94. On December 21, 2007, after multiple

extensions of time to negotiate a trail use agreement, Union Pacific quitclaimed the

railroad corridor to the Iowa Natural Heritage Foundation in consideration of ten dollars.

Around the same time, Dallas Center entered into an agreement with Dallas County and

other nearby cities to acquire and develop the trail segments running through each city.
13
  Although the government provided a deed that it claims demonstrates that the railroad corridor
segments adjacent to parcels 15.B, 15.C, 15.D, and parts of 15.F are actually held in fee, Def.’s
Mot. Suppl. Rec. at 3, the court does not take that deed into consideration since it finds that
Dallas Center is not a proper claimant.
14
   While the plaintiffs do not contest the facts associated with Dallas Center’s acquisition of the
former corridor, they argue that “[t]he City of Dallas Center was not part of the transactions
leading up to and requesting a NITU and facts after issuance of the NITU are irrelevant to the
taking.” Pls.’ Resp. to Def.’s 2nd PFOF at 4-5, ECF No. 98.
                                                 16
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 17 of 20



In January 2008, the Foundation deeded the former rail corridor to Dallas County for one

dollar. That same month, in January 2008, the Foundation notified the STB that it had

reached a trail use agreement. Finally, in February 2009, Dallas County deeded the rail

corridor to the City of Dallas Center in consideration of $69,287. The plaintiffs filed

their complaint two months later.

              2.     The City of Dallas Center is a successor-in-interest to the
                     Railroad and is therefore excluded from the class under this
                     court’s prior order.

       As stated above, the class definition in this case excludes “railroad companies and

their successors-in-interest” from this class action. Order at 5, ECF No. 23. The

government argues that, based on this definition, Dallas Center is excluded from this

class as successor-in-interest to Union Pacific because Dallas Center currently owns

property interests in the corridor once held by the Railroad. Def.’s Reply at 14 (citing

Black’s Law Dictionary 1832 (9th ed. 2009) (defining “successor-in-interest” as “[o]ne

who follows another in ownership or control of property.”)). The government argues that

within the context of Rails to Trails cases, the only definition of successor-in-interest that

makes sense is one based on successive property ownership rather than corporate

ownership. The government argues that a corporate definition of successor-in-interest

would be meaningless because Union Pacific, by definition, was no longer going to

operate a railroad over the right-of-way. The purpose of the term excluding successors-

in-interest from the class, according to the government, is to prevent the situation

currently before the court where a railroad company or subsequent owner of the corridor

can request issuance of a NITU or actively seek property interests in the rail corridor to

                                              17
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 18 of 20



secure a trail and then sue the government because it took property pursuant to that

requested NITU. As such, the government argues, the City of Dallas Center is excluded

from the class by the court’s definition.

       The plaintiffs argue, however, that the City of Dallas Center is not a successor-in-

interest to the Railroad by “any common definition of that phrase” and that Dallas Center

is therefore a proper plaintiff. Pls.’ Resp. at 11, ECF No. 97. The plaintiffs submit that a

successor-in-interest is properly defined as “somebody who succeeds the railroad,” rather

than one who succeeds the Railroad’s interest in the land. Tr. of Oral Arg. at 32.

According to the plaintiffs, Dallas Center, in any case, acquired neither ownership nor

control in the corridor after Union Pacific because the City already owned 15 the rail

corridor prior to the transfer from Dallas County and currently lacks control of the

corridor because the corridor is subject to the Trails Act.

       The plaintiffs further assert that Dallas Center faced the choice either to enter into

the trail use agreement as trail operator or alternately to lose control of the trail running

through its borders. Since, as the plaintiffs contend, the City of Dallas Center was not a

party to the NITU negotiations, it was “required” to sign the trail use agreement in 2009

or else lose control of the corridor. The plaintiffs further argue, however, that regardless


15
   While the plaintiffs apparently claim that the City of Dallas Center “always” owned the land
underlying the railroad corridor in fee, Tr. of Oral Arg. at 29, it is unclear what evidence
supports this contention. In fact, the government submitted a deed executed in 1883 that it
contends conveyed the railroad corridor in fee to Union Pacific’s predecessor-in-interest. Def.’s
2nd Proposed Finding of Fact at 2, Ex. 42, ECF No. 94 (noting that the deed conveyed the “right
of way” to the railroad “to have and to hold the same in fee simple absolute”). The plaintiffs
argue that this is an easement, Pls. Resp. to Def.’s 2nd PFOF at 3, but do not mention an
alternate deed in their briefs showing that Dallas Center already had fee title to the railroad
corridor.
                                               18
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 19 of 20



of whether the City of Dallas Center was “forced” into signing the trail use agreement

and into serving as trail operator, the taking occurred in 2004, before the City acquired

the right to build a trail. This makes any actions taken after the issuance of the NITU

irrelevant.

       The court finds that the City of Dallas Center is not a proper plaintiff as a

“successor-in-interest” under the class definition agreed upon by the parties. Construing

“successors-in-interest” in this context to mean anything other than successor to the

property interests of the Railroad would render the phrase meaningless. In this Trails Act

case, the Railroad, by definition, has ceased railroad operations over and adjacent to the

disputed parcels of land. The only accepted definition that lends substance to the term

“successor-in-interest” under these circumstances is the property interest-based definition

proffered by the government. The Black’s Law Dictionary definition demonstrates an

acceptance of the government’s proffered meaning of the term. The plaintiffs, in

contrast, provide no authority to persuade the court to accept their definition. Limiting

the definition of successor-in-interest to active railroad operators or corporate

successors—as the plaintiffs are arguing—would not make sense in the context of this

litigation. A property-based definition of successor-in-interest ensures that a party that

has voluntarily purchased property in the rail corridor and was given grants to pay for

that interest cannot later turn around and sue the government for a taking of that same

property.




                                             19
       Case 1:09-cv-00241-NBF Document 115 Filed 12/21/12 Page 20 of 20



       The government is entitled to summary judgment in connection with the claims

associated with the parcels owned by the City of Dallas Center, 15.A, 15.B, 15.C, 15.D,

15.E, and 15.F.

IV.    CONCLUSION

       For the reasons stated above, the government’s motion is GRANTED in part and

DENIED in part. The plaintiffs’ motion is also GRANTED in part and DENIED in

part. The parties shall file a joint status report by no later than January 21, 2013 setting

forth a final list of the properties for which the government is liable to pay just

compensation, together with a proposed schedule for completing discovery taking into

account the proposed trial schedule currently set for the week of August 5, 2013.

IT IS SO ORDERED.


                                                           s/Nancy B. Firestone
                                                           NANCY B. FIRESTONE
                                                           Judge




                                              20
